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 November 6, 2019

 VIA ECF

 Hon. Brian Martinotti
 United States District Judge
 Clarkson S. Fisher Building & U.S. Courthouse
 402 East State Street
 Trenton, NJ 08608

 Re:     Sandoz Inc. and RareGen, LLC v. United Therapeutics Corp. and Smiths Medical ASD,
         Inc., Civ. No. 3:19-cv-10170 (BRM) (LHG)

 Dear Judge Martinotti:

 I write on behalf of Plaintiff RareGen, LLC (“RareGen”) in connection with Defendants’ Motion
 for Sanctions (“Mot.”), ECF No. 113, to alert the Court that a press outlet, MLex, today published
 an online article (behind a paywall) concerning the parties’ preliminary injunction briefing,
 including Plaintiffs’ unredacted brief (“Br.”), ECF No. 106.

 RareGen initially filed the Brief on October 4 at or around 6:35 pm. The Brief was inadvertently
 filed on the public docket. RareGen filed a letter to alert the Court, as Defendants demanded, ECF
 No. 113, and the Brief was placed under seal early the following morning. RareGen is not aware
 of the initial filing receiving any press coverage. In the days that followed, in response to a request
 from Defendants, RareGen contacted several organizations that had downloaded the Brief while it
 was on the public docket and asked them to delete it. They all complied. See RareGen’s Opp’n
 at 8, ECF No. 139.

 On October 15, Defendants moved for sanctions against Plaintiffs for inadvertently violating the
 parties’ Stipulated Confidentiality Order, ECF No. 55. In their Motion, Defendants characterized
 the Brief as highly sensitive, stating that the “release of this information is irreversible and
 significant,” and claimed that it revealed Defendants’ pricing and market share information,
 competitive strategies, and information concerning confidential negotiations. Mot. at 8–9. As
 RareGen pointed out in its Opposition, most, if not all, of the information Defendants designated
 for protection under the Stipulated Confidentiality Order does not meet the applicable standard for
 sealing judicial records. RareGen’s Opp’n at 14–16. Despite the claimed sensitivity of the
 information, Defendants chose to file their Motion on the public docket and it was covered by the
 press.


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 On October 31, RareGen identified a copy of the Brief that had been downloaded by MLex and
 posted on MLex’s website (behind a paywall). Pursuant to its pledge to Defendants, counsel for
 RareGen contacted MLex that same day and asked it to remove the Brief from its website. On
 November 4, MLex responded, refusing to pull down the Brief. On November 5, counsel for
 RareGen held a call with the Managing Editor of MLex, again asking MLex to remove the Brief
 from its website. He refused, and shortly thereafter indicated that MLex intended to move forward
 with an article concerning the preliminary injunction briefing that would reference the contents of
 the Brief. RareGen then contacted Defendants to inform them of the possibility that an article
 would be published that contained designated information.

 During the past 24 hours, RareGen has tried to persuade MLex not to publish the article, including
 by contacting senior executives at MLex’s parent company, LexisNexis, and through direct calls
 with the reporter writing the article. RareGen has learned from the published article that counsel
 for Defendant United Therapeutics Corp. also tried to persuade MLex not to publish the
 article. None of those efforts were successful. The article was published by MLex this evening,
 including on-the-record quotes from both Defendants. Although this is an unfortunate outcome,
 RareGen respectfully submits that absent Defendants’ demands, the public filing of Defendants’
 Motion, and the additional attention it received, the Brief is unlikely to have received any attention
 until the Court rendered its final decision with respect to sealing.

 RareGen will provide additional updates to the Court in the event new information emerges.

 Respectfully submitted,
 /s/ Thomas D. Pease
 Thomas D. Pease

 cc: All counsel of record (via ECF)




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